     Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 1 of 18




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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

 EDWARD WATTERS, DEAN
 GUNDERSON, STEVEN
 FARNWORTH, MATTHEW
 ALEXANDER NEWIRTH, individuals,                  Case No. 1:12-cv-0076-REB
 and OCCUPY BOISE, an Idaho
 unincorporated non-profit,                  DECLARATION OF LAUREN
                                             MANWILL SUPPORT OF MOTION
         Plaintiffs,                         FOR TEMPORARY RESTRAINING
                                             ORDER, PRELIMINARY
                      v.                     INJUNCTION, FOR FURTHER
                                             RELIEF, ORDER TO SHOW CAUSE,
 BRADLEY JAY LITTLE, in his official         AND CONTEMPT
 capacity as the Governor of the State of
 Idaho, STEVEN BAILEY, in his official
 capacity as the Director of the Idaho
 Department of Administration, and COL.
 KEDRICK R. WILLS, in his official
 capacity as the Director of the Idaho State
 Police,

          Defendants. 1




     1
         Defendants in this action automatically substituted pursuant to F.R.C.P. 25(d).


DECLARATION OF LAUREN MANWILL - Page 1
      Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 2 of 18




I, Lauren Manwill, declare as follows:

   1. I am involved with the Peoples’ University, which has been organized on an

      ongoing basis at the site of the Capitol Annex in Boise, Idaho since May 3, 2024.

   2. Before we established the Peoples’ University on the grounds of the Capitol

      Annex, I and other people in our group have attempted to reach legislatures to

      communicate our message. We have demanded in-person meetings, have

      organized letter and postcard campaigns, have conducted shorter demonstrations

      in the form of marches and rallies, and organized phone banking to try and reach

      policymakers. None of those efforts have been successful and we have received no

      response from policymakers to date.

   3. The Peoples’ University established following a rally and march on May 3, 2024

      from the Ann Frank Memorial through the streets of downtown Boise and

      established that evening on the grounds of the Capitol Annex. The primary motive

      of the group is to raise awareness about the ongoing destabilization and

      displacement faced by the people of Palestine as a result of military intervention,

      and to demand that the Idaho Legislature name and acknowledge that the ongoing

      violence is a genocide being perpetuated with funds and support from the United

      States of America.

   4. Individuals in Rafah have been relegated to tent cities as a result of the ongoing

      violent military intervention in the Gaza Stip, which has displaced more than a

      million people from their homes. (“War in Gaza drove them from their homes.




DECLARATION OF LAUREN MANWILL - Page 2
     Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 3 of 18




     Now, many Palestinians can't even find tents”

     https://www.npr.org/2024/01/19/1225250933/gaza-rafah-tents-shortage).




  5. In addition to the displacement of the people of Palestine, we are protesting the

     ongoing violence against them. In the course of the violence, children are being

     killed, hospitals have been bombed, refugee camps have been targeted, and

     millions of people have been driven from their homes. (Photos: The staggering

     human toll of Israel’s war on Gaza,

     https://www.aljazeera.com/gallery/2023/12/25/photos-israel-palestine-war)




DECLARATION OF LAUREN MANWILL - Page 3
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 4 of 18




DECLARATION OF LAUREN MANWILL - Page 4
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 5 of 18




DECLARATION OF LAUREN MANWILL - Page 5
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 6 of 18




DECLARATION OF LAUREN MANWILL - Page 6
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 7 of 18




  6. On May 3, 2024, we erected tents on the site of the Capitol Annex for the purpose

     of making symbolically visible the violence, displacement, and houselessness

     faced by the people of Palestine. Those tents are crucial to our demonstration and

     the core-message of our group because they are intended to make visible the

     situation faced by the people of Palestine, where thousands of families have been

     forced to relocate to tent cities because their homes have been destroyed by the

     violence there.

  7. Since May 3, 2024, we have done our best to maintain a 24-hour, 7-day a week

     vigil in solidarity with the people of Palestine and to highlight to individuals and

     policymakers in Boise, Idaho the ongoing consequences of the genocide.

     Maintaining a constant, overnight vigil is also crucial to our message because the



DECLARATION OF LAUREN MANWILL - Page 7
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 8 of 18




     people of Palestine are unable to take down their tents and go home to sleep for

     the night: they are forced to live in those conditions constantly. If we are unable to

     maintain our vigil and are required to take down our tents and go home for the

     night, then we would not be able to effectively communicate and make visible the

     ongoing nature of the violence in Palestine.




DECLARATION OF LAUREN MANWILL - Page 8
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 9 of 18




DECLARATION OF LAUREN MANWILL - Page 9
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 10 of 18




DECLARATION OF LAUREN MANWILL - Page 10
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 11 of 18




  8. We understand that, during our 24-hour vigil, individuals are not allowed to sleep

     at the site of the Capitol Annex or on State grounds. We have had several

     conversations as a group about the importance of not sleeping on the grounds, and

     to my knowledge nobody involved with the vigil has slept on the grounds of the

     Capitol Annex or Capitol Mall at all. In order to comply with the applicable Idaho

     Law, we have maintained a rotating shift of individuals to continuously staff the

     demonstration in 4-to-8-hour shifts. No individual associated with the vigil has

     been able to remain on site for its entire duration because we need to go home to

     sleep in order to comply with Idaho law.




DECLARATION OF LAUREN MANWILL - Page 11
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 12 of 18




  9. In addition to symbolic purposes, the presence of tents and other temporary

     structures have been important to our right to assembly. We have used common

     spaces under temporary structures to engage in continuing education about

     Palestine and the violence occurring there. On nights that it has rained, we would

     have been unable to continue our 24-hour vigil without a space to assemble out of

     the elements.

  10. When we established the vigil site on May 3, 2024, approximately 30 law

     enforcement officers with the Boise Police Department and Idaho State Police

     were present at the site of the Capitol Annex. Boise Police Department officers

     instructed us that we must vacate the grounds of the Capitol Annex before dark

     on the basis that we were in a “city park,” and that it is illegal to be in a city park

     after dark. It is my understanding that the grounds of the Capitol Annex are not a

     city park.

  11. The next morning, on Saturday, May 4, 2024, I was present when Idaho State

     Police department officers returned to the site of the vigil and seized all of the

     tents that were present there, in addition to a bucket of water bottles and sanitary

     products such as tampons necessary to sustain the protest. I did not witness

     anybody sleeping on the site on May 3, 2024, and I do not believe that anybody

     did because we discussed the importance of not sleeping there.

  12. Early in the morning on Monday, May 6, 2024, Idaho State Police department

     officers returned again to the site of the vigil and seized one tent. When I asked

     one of the officers why they were seizing the tent, he said that he believed that the




DECLARATION OF LAUREN MANWILL - Page 12
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 13 of 18




     individuals inside had been sleeping on the basis that they had “red, puffy eyes.”

     We were also informed at that time that we would need to vacate the grass of the

     Capitol Annex each day beginning at 6:30 PM in order to allow the grounds to be

     watered, and would be permitted to return to continue our vigil at 7:00 AM each

     day after the watering was finished, except on Wednesdays when we would need

     to wait until the grounds were mowed.

  13. On Tuesday, May 7, 2024 to comply with the request of the Idaho State Police, we

     relocated our vigil to the West side of the apron of the steps of the Idaho State

     Capitol. In doing so, we took care to ensure that the tents themselves were flush

     with the west pillar to leave ample space for the pedestrian walkway on the west

     side of the steps. We also took care to ensure that the majority of the access to the

     steps themselves would remain accessible so that individuals would be readily

     able to enter or exist the building. Idaho State Police arrived on the scene and

     threatened to issue citations, stating that it was illegal to erect temporary

     structures in that location. No citations were issued.




DECLARATION OF LAUREN MANWILL - Page 13
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 14 of 18




DECLARATION OF LAUREN MANWILL - Page 14
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 15 of 18




  14. The following morning, on Wednesday, May 8, 2024, we returned the vigil to the

     grass of the Capitol Annex after they were mowed. When we returned, the

     original site of our vigil had been taped off, and signs were posted indicating that

     annual maintenance of the irrigation system there would occur between March

     28, 2022, and March 30, 2022. We chose a different spot in the grass that was not

     taped off to set up our vigil again and remained there throughout the day.

  15. At approximately 6:30 PM that day, we moved the site of the vigil to the east side

     of the apron of the Idaho State Capitol to allow maintenance of the grass of the

     Capitol Annex in a substantially similar fashion as to the previous day. As we

     were in the process of moving, we were greeted by approximately 30 Idaho State


DECLARATION OF LAUREN MANWILL - Page 15
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 16 of 18




     Police officers who informed us that we would not be permitted to erect

     temporary structures on the apron because they would block entrances and exits

     to the building. Again, we took careful steps to ensure that our symbolic and

     assembly tents were set up in such a way to permit ample space to enter and exit

     the building. We ensured that the tents were flush with the west side of the pillar

     marking the end of the steps used to exit the building. We were in the process of

     consolidating the materials used in the protest to ensure ample access to the

     pedestrian walkway to the east of the steps, which is also blocked by a large

     flower planter maintained by Defendants, when Idaho State Police ordered us to

     step away and seized all of the property on the steps. That, of course, included the

     symbolic assembly tents themselves, but also included food, water, education

     materials, signs, and numerous other items. Idaho State Police did not, and still

     has not, provided us with an inventory list of the items they seized.

  16. We later moved our vigil back to the grass of the Capitol Annex because we could

     no longer comprehend where Idaho State Police would permit us to continue our

     24-hour vigil using symbolic assembly tents or what guidelines that they wanted

     us to follow.

  17. On Thursday, May 9, 2024, I was again present at approximately 11:30 PM when

     Idaho State Police and Boise Police Department returned to the site of the vigil at

     the grass of the Capitol Annex. While we were assembled on the grass,

     approximately a dozen police cars drove east down Jefferson street and stopped

     near the vigil. Approximately 30 to 40 law enforcement immediately stormed the




DECLARATION OF LAUREN MANWILL - Page 16
    Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 17 of 18




     grass, ordering everyone to get off of it, and again seized all of the property on the

     grass, including the symbolic assembly tents, signs, water, food, sanitary products,

     and other items necessary to sustain the 24-hour vigil. We tried to relocate the

     site of the vigil to the concrete memorial located in the center of the grass, but

     were again informed that we would not be permitted continue our vigil using

     symbolic and assembly tents there, either. Law enforcement again did not provide

     us with an inventory list of the items seized, and still has not.

  18. On Friday, May 10, 2024 we again set up our vigil on the grass of the Capitol

     Annex, having received no instruction from Idaho State Police regarding a place

     where we would be able to continue our vigil utilizing symbolic and assembly

     tents overnight. Again, at approximately 11:00 PM, law enforcement returned to

     the site, ordered everybody to get off the grass, and again seized all of the items on

     the grass, and again did not and still have not provided us with an inventory list

     of the items seized.

  19. I will testify in person and under oath about these facts before this Court if I am

     called as a witness.




DECLARATION OF LAUREN MANWILL - Page 17
     Case 1:12-cv-00076-BLW Document 170-3 Filed 05/14/24 Page 18 of 18




Pursuant to 28 USC § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

EXECUTED: May 14, 2024

                                                __________________________________
                                                Lauren Manwill



                                  WREST COLLECTIVE

   DATED: May 14, 2024            By:   /s/ Casey Parsons
                                  Casey Parsons
                                  Attorneys for Plaintiff Matthew Alexander Neiwirth




DECLARATION OF LAUREN MANWILL - Page 18
